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Attorney for Defendant


                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

 ANDREA AYULUK, ERIC                         ) Case No. 3:10-cv-00129-SLG
 AYULUK, and as Parent and Next              )
 Friend of A.A., a Minor Child,              )
                                             )
               Plaintiff,                    ) STIPULATION FOR DISMISSAL
                                             )
        v.                                   )
                                             )
 UNITED STATES OF AMERICA,                   )
                                             )
               Defendant.                    )
                                             )


       The parties, through counsel, notify the Court that this case has settled, settlement

funds have been paid, and that they stipulate to a dismissal with prejudice, each party to

bear their own attorneys fees and costs.




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         RESPECTFULLY SUBMITTED April 22, 2013 at Anchorage, Alaska.
                                           KAREN L. LOEFFLER
                                           United States Attorney

                                           s/ E. Bryan Wilson
                                           Assistant U.S. Attorney
                                           Attorney for Defendant


                                           LAW OFFICES OF DAVID HENDERSON

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CERTIFICATE OF SERVICE

I hereby certify that on April 22, 2013,
a copy of the foregoing was served via
U.S. Mail on:

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s/ Bryan Wilson




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